













NUMBER 13-09-00310-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


______________________________________________________________

	

JAIME ALBERTO RODRIGUEZ, 	Appellant,


v.



CAPITAL ONE, N. A.,	Appellee. 

	____________________________________________________________


On appeal from the County Court at Law No. 1 


of Hidalgo County, Texas.


______________________________________________________________


MEMORANDUM OPINION



Before Justices Yañez, Benavides, and Vela


Memorandum Opinion Per Curiam

	The appellant's brief in the above cause was due on July 3, 2009.  On October 23,
2009, the Clerk of the Court notified appellant that the brief had not been timely filed and
that the appeal was subject to dismissal for want of prosecution under Texas Rule of
Appellate Procedure 38.8(a)(1), unless within ten days from the date of receipt of this
letter, appellant reasonably explained the failure and the appellee was not significantly
injured by the appellant's failure to timely file a brief.  To date, no response has been
received from appellant.  

	Appellant has failed to either reasonably explain his failure to file a brief, file a
motion for extension of time to file his brief, or file his brief.  Accordingly, the appeal is
DISMISSED FOR WANT OF PROSECUTION.  See Tex. R. App. P. 38.8(a), 42.3(b). 

										PER CURIAM


Delivered and filed the

10th day of December, 2009. 





	


